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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

_________________________________________
STEPHEN BARBEE,                           §
                                          §
                 Plaintiff,               §
                                          §                No.________________
          vs.                            §
BRYAN COLLIER, Executive Director,        §
Texas Department of Criminal Justice      §
Huntsville, Texas                        §
                                         §
BOBBY LUMPKIN, Director,                §
Texas Department of Criminal             §
Justice, Correctional Institutions       §                    (Death Penalty Case)
Division, Huntsville, Texas              §
                                        §
DENNIS CROWLEY, Warden, Texas           §               Mr. Barbee is scheduled to be
Department of Criminal Justice,         §               Executed on October 12, 2021
Huntsville Unit,                        §
Huntsville, Texas,                      §
                                        §
                 Defendants.            §
_______________________________________ §


                      COMPLAINT PURSUANT TO 42 U.S.C. § 1983



                                      INTRODUCTION


       1. Plaintiff Stephen Barbee is a devout Christian and has been a life-long adherent to the

Pentecostal faith. He is incarcerated at the Polunsky Unit of the Texas Department of Criminal

Justice (“TDCJ”) under a sentence of death in the custody of the defendants.

       2. The State of Texas intends to execute Mr. Barbee on October 12, 2021, under

conditions that violate the First Amendment’s Free Exercise Clause and substantially burden the


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exercise of his religion in violation of the Religious Land Use and Institutionalized Persons Act

of 2000 (“RLUIPA”), 42 U.S.C. § 2000cc et seq.

        3. Relief is necessary to ensure that Mr. Barbee is executed only in a manner that does

not substantially burden the exercise of his religious beliefs and does not violate his rights under

the Free Exercise Clause or RLUIPA.



                                        JURISDICTION

        4. This Court has jurisdiction under 42 U.S.C. §§ 2000cc-1, 28 U.S.C. §§ 1343, 1651,

2201, and 2202, and under 42 U.S.C.§ 1983.



                                              VENUE

        5. Venue lies in this Court under 28 U.S.C. § 1391 because Defendants maintain offices

in the Southern District of Texas. Venue is also proper because the execution will occur in this

district.



                                            PARTIES

        6. Plaintiff Stephen Barbee is incarcerated under a sentence of death at the Polunsky Unit

of TDCJ in Livingston, Texas. He is scheduled to be executed on October 12, 2021.

        7. Defendant Bryan Collier is the Executive Director of TDCJ. He is being sued in his

official capacity.

        8. Defendant Bobby Lumpkin is the Director of the Correctional Institutions Division of

TDCJ. He is being sued in his official capacity. The state trial court has ordered Mr. Lumpkin to

carry out Mr. Barbee’s scheduled execution.

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         9. Defendant Dennis Crowley is the Senior Warden of the Huntsville Unit, where the

State of Texas carries out executions. He is being sued in his official capacity. Because Mr.

Crowley is the warden of the Huntsville Unit, he is responsible for supervising the scheduled

execution in this case.



                                  PROCEDURAL HISTORY

         10. Plaintiff Stephen Barbee was tried and convicted of capital murder in February 2006

for the deaths of Lisa and Jayden Underwood in Tarrant County, Texas. The Texas Court of

Criminal Appeals (“CCA”) affirmed the conviction and sentence on appeal in Barbee v. State,

No. AP-75,359 (Tex. Crim. App. December 10, 2008) (not designated for publication). The CCA

denied relief in Mr. Barbee’s initial state habeas proceeding. Ex parte Barbee, No. WR-71,070-

01 (Tex. Crim. App. January 14, 2009) (per curiam) (not designated for publication).

         11. On October 4, 2010, Mr. Barbee filed an initial federal habeas petition in the

Northern District of Texas challenging his state court conviction and sentence. On October 2,

2013, he filed an amended federal habeas petition. On July 7, 2015, the federal district court

entered a final memorandum and order denying all claims and also denying a certificate of

appealability. Barbee v. Stephens, No. 4:09-CV-074-Y, 2015 WL 4094055 (N.D. Tex. Sept. 1,

2015).

         12. Mr. Barbee appealed to the Fifth Circuit and on November 23, 2016, the United

States Court of Appeals for the Fifth Circuit granted a certificate of appealability on the issue of

whether he was deprived of his Sixth Amendment rights because trial counsel rendered

ineffective assistance of counsel by conceding Barbee’s guilt at the guilt phase of trial during

closing argument. Barbee v. Davis, 660 F. App’x. 293 (5th Cir. 2016).

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         13. On March 21, 2018, the Fifth Circuit issued an opinion denying relief. Barbee v.

Davis, 728 Fed.Appx. 259 (5th Cir., March 21, 2018), and on November 19, 2018, the Supreme

Court denied certiorari. Barbee v. Davis, 139 S. Ct. 566 (2018).

         14. On May 9, 2019, the trial court set an execution date of October 2, 2019 for Mr.

Barbee. Mr. Barbee then filed a subsequent state habeas application in the CCA raising a claim

under McCoy v. Louisiana, 138 S. Ct. 1500 (2018), that his trial counsel’s unauthorized

concession of guilt to the jury violated his Sixth Amendment autonomy right to maintain his

innocence at trial. The CCA stayed Mr. Barbee’s execution, Ex parte Barbee, 2019 WL 4621237

(Tex. Crim. App. Sept. 23, 2019), and requested further briefing on the McCoy issue.

         15. On February 10, 2021, the CCA issued an opinion denying Mr. Barbee’s application,

Ex Parte Barbee, 616 S.W.3d 836 (Tex. Crim. App. 2021). On March 30, 2021, the State

submitted a motion to set an execution date for Mr. Barbee and on July 6, 2021, the trial court

signed an “Order Setting Execution Date” of October 12, 2021 for Mr. Barbee.

         16. On July 10, 2021, Mr. Barbee timely filed a petition for writ of certiorari in the

United States Supreme Court. Barbee v. Texas, No. 21-5093. The State filed their Brief in

Opposition on August 4, 2021 and Barbee filed his reply brief on August 18, 2021. On August

19, 2021, the Supreme Court announced that the matter will be conferenced on September 27,

2021.




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                                  FACTUAL BACKGROUND

       17. Until April 2019, TDCJ allowed TDCJ-approved chaplains in the execution chamber

to guide persons being executed into the afterlife according to their religious beliefs. Between

1982 and March 2019, Texas conducted 560 executions pursuant to this policy.

       18. In March 2019, TDCJ refused inmate Patrick Murphy’s request that his Buddhist

spiritual advisor accompany him in the chamber during the scheduled execution. See Murphy v.

Collier, 139 S. Ct. 1475 (2019). Patrick Murphy had sought access for his Buddhist priest in the

chamber so that the priest could “chant[] while a lethal injection is administered” to assist him in

“remaining focused on Buddha while dying.” Murphy, 139 S. Ct. at 1484 (Alito, J., dissenting).

After TDCJ refused Murphy’s request, he filed a request for a stay of execution in the Supreme

Court and sought to challenge TDCJ’s decision on equal protection and First Amendment

grounds. See id.

       19. On March 28, 2018, the Supreme Court granted a stay of execution and issued an

order prohibiting TDCJ from carrying out the execution “pending the timely filing and

disposition of a petition for a writ of certiorari unless the State permits Murphy’s Buddhist

spiritual advisor or another Buddhist reverend of the State’s choosing to accompany Murphy in

the execution chamber during the execution.” Murphy, 139 S. Ct. at 1475. Justice Kavanaugh

wrote a concurring opinion, in which he expressed his view that “the Constitution prohibits [the]

denominational discrimination” of the then-existing TDCJ policy. Id. at 1475-76. Justice

Kavanaugh observed that a potential remedy for this denominational discrimination would be to

ban all spiritual advisors of any denomination from the chamber. Id.

       20. On April 2, 2019, TDCJ revised its Execution Procedure to provide that “TDCJ

Chaplains and Ministers/Spiritual Advisors designated by the offender may observe the

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execution only from the witness rooms. Ex. A, Tex. Dep’t Crim. Just., Execution Procedure at 8

(Apr. 2019).

       21. Following the setting of his execution for June 16, 2020, Ruben Gutierrez, a

condemned inmate, brought a § 1983 complaint under the First Amendment and the RLUIPA,

challenging TDCJ’s prohibition on the presence of any spiritual advisor in the chamber and

noting that “communal prayer [is] a longstanding religious tradition worthy of First Amendment

protection” and that “Texas has long recognized that a condemned prisoner’s prayer with a

chaplain is integral in executions.” Pet. For Writ of Certiorari at 24, Gutierrez v. Saenz, No. 19-

8594 (S. Ct.), cert. granted, 141 S. Ct. 1260 (2021). A panel of the Fifth Circuit Court of Appeals

had vacated the district court’s grant of a stay of execution based on the challenge to TDCJ’s

spiritual advisor policy, but the United States Supreme Court granted a stay. The Supreme Court

remanded the case to the district court to make factual findings regarding “whether serious

security problems would result if a prisoner facing execution is permitted to choose the spiritual

adviser the prisoner wishes to have in his immediate presence during the execution.” Gutierrez,

141 S. Ct. at 127. After the district court made findings that no security problem would result,

the Supreme Court granted certiorari, vacated the Fifth Circuit’s panel decision, and remanded

the case for consideration on the merits. Gutierrez, 141 S. Ct. 1260, 1261 (2021).

       22. On April 21, 2021, TDCJ again revised its Execution Procedure, presumably in

response to the litigation in Gutierrez v. Saenz. This time, the protocol provided that the

condemned may be accompanied in the execution chamber by their personal religious advisor,

who may minister to the condemned during the execution. Under the new policy, TDCJ requires

that the spiritual advisors be verified and pass a background check. Ex. B., Tex. Dep’t. Crim.

Just., Execution Procedure at 8 (Apr. 2021).

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         23. On August 10, 2021, John Henry Ramirez brought a complaint under 42 U.S.C. §

1983 alleging that TDCJ had informed Mr. Ramirez and his counsel that TDCJ policy forbid Mr.

Ramirez’s spiritual advisor from laying hands upon him at the time of his death, “a long-held

and practiced tradition in Christianity in general and in the Protestant belief system Mr. Ramirez

adheres to.” Mr. Ramirez’s complaint alleged that TDCJ’s “No Contact” policy violated his

rights under the Free Exercise Clause of the First Amendment and RLUIPA, 42 U.S.C. § 2000cc

et seq. Ramirez v. Collier et. al., No 4:21-CV-02609, ECF No. 1.

         24. In his complaint, Mr. Ramirez alleged that his spiritual advisor “needs to lay his

hands on Mr. Ramirez” at the time of his death “in accordance with [the spiritual advisor’s] and

Mr. Ramirez’s faith tradition.” Id. at 5, ¶17. Mr. Ramirez further alleged that “the laying on of

hands is a symbolic act in which religious leaders place their hands on a person in order to

confer a spiritual blessing.” Id. at ¶18.

         25. Mr. Ramirez attached as an exhibit to his Amended Complaint an Offender Form I-

127 complaining that the Director of Chaplaincy at TDCJ had told him that his spiritual advisor

was not going to be allowed to have physical contact with him in the execution chamber. In

response, on July 2, 2021, a representative of the TDCJ typed, “A spiritual advisor is not allowed

to touch an inmate while in the execution chamber.” Ramirez, No. 4:21-cv-022609, ECF No. 5 at

38-39.

         26. On August 22, 2021, Mr. Ramirez filed a second amended complaint in which he

alleged that, in addition to being prohibited from touching Mr. Ramirez during the execution to

administer a final blessing, the spiritual advisor would be prohibited from praying aloud while in

the chamber. Mr. Ramirez attached as an exhibit to his second amended complaint a letter dated

August 19, 2021, from TDCJ’s general counsel to Ramirez’s counsel, in which TDCJ’s counsel

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informed Ramirez’s counsel that, “At this time, TDCJ does not allow the spiritual advisor to

pray out loud once inside the execution chamber.” Ex. C, Letter from General Counsel Worman

to Eric Allen, counsel for Ramirez, dated August 19, 2021. The August 19 letter also reiterated

that the spiritual advisor would not be allowed physical contact with Mr. Ramirez once inside

the execution chamber. Ibid.

       27. On September 7, 2021 Mr. Ramirez sought a stay of execution from the United States

District Court for the Southern District of Texas, based on the likelihood that he would prevail

on his § 1983 challenge to TDCJ’s “No Speaking” and “No Contact” policies. When the district

court denied his motion for a stay of execution, Mr. Ramirez appealed to the United States Court

of Appeals for the Fifth Circuit, and when the Fifth Circuit affirmed the district court’s denial of

a stay, Mr. Ramirez filed a motion for a stay of execution in the United States Supreme Court,

along with a petition for writ of certiorari. Ramirez v. Collier, et. al., No. 21-5592; 21A33.

       28. On September 8, 2021, the United States Supreme Court stayed Mr. Ramirez’s

execution and granted a writ of certiorari to answer the questions presented in Mr. Ramirez’s

petition about TDCJ’s “No Contact” and “No Speaking” policies forbidding spiritual advisors

who are present in the execution chamber from vocal prayer and from having physical contact

with condemned persons as they are about to be executed. Ramirez v. Collier, et. al, No. 21-

5592. The case will be argued on November 1, 2021.

       29. Mr. Barbee is a devout Christian and has been throughout his life. He has been active

in the Pentecostal church since childhood, including teaching Sunday School classes. Mr.

Barbee’s pastors were Calvin and Nancy Cearley. Calvin Cearley is now deceased, and Nancy

Cearley, who is over 90 years old and unable to travel, continues to stay in touch with Mr.

Barbee. See Ex. D, Declaration of Tina Church. The laying on of hands—a symbolic act in

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which religious leaders place their hands on a person in order to confer a spiritual blessing—is

part of Mr. Barbee’s Pentecostal faith. [Id.]

         30. Jennifer Cherry, Mr. Barbee’s niece, has also attested to Mr. Barbee’s long-standing

faith and the particular beliefs of his Pentecostal faith. See Ex. H, Declaration of Jennifer Cherry.

At one point, Mr. Barbee and his wife were church group leaders. His faith places great

importance on praying out loud and the laying on of hands. “If this is not allowed him, if and

when he goes on to be with the Lord, it would be detrimental to his mental health, peace of mind

and belief system at the time of his passing.” Id.

         31. Stephen Barbee was anticipating that Nancy Cearley would be present as his spiritual

advisor and has expressed that it is important for him to have an advisor there with him “to pray

with me at the time of my death in the chamber, if or when I reach such time. It’s the words of a

minister that matters, especially when it’s written in the Bible that two or more should pray

together. And with that Faith, I believe.” See Ex. E, Declaration of Stephen Barbee, August 20,

2012.

         32. Accordingly, Mr. Barbee designated Nancy Cearley as his spiritual advisor. Mr.

Barbee did so under the assumption that, in accordance with TDCJ’s policy, as amended in April

2021, Mr. Brown would be allowed to be physically present in the chamber, to audibly pray and

to physically touch Mr. Barbee in order to confer ministrations and a spiritual blessing upon him

at the time of his death. However, shortly after Ms. Cearley was designated, Mr. Barbee learned

from the Polunsky Unit chaplain “that she was not able to attend as she is over 90 years old and

has health problems.” See Ex. F, Declaration of Adrián de la Rosa, September 16, 2021. When

Ms. Cearley later confirmed that she could not attend, Mr. Barbee designated Mr. Barry Brown

of the Salvation Army, as his advisor in her place. Id.

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        33. On September 15, 2021, undersigned counsel e-mailed an inquiry to TDCJ General

Counsel Ms. Kristen Worman to inquire whether the current policies forbade Mr. Barbee’s

designated spiritual advisor, Mr. Brown, from being able to pray aloud and touch him in the

execution chamber and whether the restrictions imposed on Mr. Ramirez’s spiritual advisor were

still in effect. See Ex. I, e-mailed letter from A. Richard Ellis to Kristen Worman, Sept. 15,

2021. On September 16, 2021, Ms. Amy Lee, Project Coordinator of the Office of General

Counsel-TDCJ replied that any such “concerns or complaints related to health-related matters or

other confinement issues within the TDCJ’s control are addressed by following the process as

outlined in the Grievance Procedures for Offenders section of the TDCJ Offender Orientation

Handbook.” Ex. I, e-mail reply of Amy Lee, September 16, 2021. Thus, the questions posed by

Mr. Barbee remained unanswered.

        34. On September 7, 2021, Mr. Barry Brown informed Mr. Barbee that “TDCJ would not

allow him [Mr. Brown] to touch me or speak to me while I was in the death chamber, during my

execution.” See Ex. G, Step 1 Grievance Offender Form submitted by Stephen Barbee on

September 15, 2021. Mr. Barbee complained that “I am being deprived of my religious rights

because I believe my spiritual advisor should touch me and say the appropriate words while I’m

in the death chamber.” Id.

        35. On September 16, 2021, this grievance was denied: “At this time the spiritual advisor

is not allowed to touch the inmate or speak out loud once inside the execution chamber. No

further action is warranted at this time.” Id. at 2.

        36. Upon information and belief, Mr. Barbee has submitted a Stage 2 grievance in order

to exhaust his administrative remedies. Documentation will be forthcoming as soon as it is

received.

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                                    CLAIMS FOR RELIEF



1. TDCJ’s POLICY PROHIBITING APPROVED SPIRITUAL ADVISORS FROM
VOCAL PRAYER AND PHYSICAL CONTACT WITH CONDEMNED INMATES
WHILE PROVIDING SPIRITUAL GUIDANCE AND COMFORT OF CLERGY IN THE
EXECUTION CHAMBER VIOLATES THE RELIGIOUS LAND USE AND
INSTITUTIONALIZED PERSONS ACT (“RLUIPA”).


       37. Mr. Barbee re-alleges and incorporates by reference the allegations contained in the

previous paragraphs of this Complaint.

       38. As laid out above, TDCJs amended policy prohibiting approved spiritual advisors

from speaking aloud and having physical contact while providing spiritual guidance and comfort

of clergy to condemned inmates in the execution chamber violates Mr. Barbee’s First

Amendment rights under the Religious Land Use and Institutionalized Persons Act (“RLUIPA”).

       39. Congress enacted RLUIPA “to provide very broad protection for religious liberty”---

even greater protection than is available under the First Amendment.” Holt v. Hobbs, 574 U.S.

352, 356-57 (2015). RLUIPA provides that the government shall not “impose a substantial

burden” on an inmates “religious exercise,” unless the government shows that imposing such a

burden can withstand strict scrutiny, meaning the policy “(1) is in furtherance of a compelling

governmental interest; and (2) is the least restrictive means of furthering that compelling

governmental interest.” 42 U.S.C. § 2000cc-1 (a).

       40. Under RLUIPA, “religious exercise” is defined broadly to include “any exercise of

religion, whether or not compelled by, or central to, a system of religious belief.” 42 u.S.C. §

2000cc-5(7)(A). A government or state entity may not “impose a substantial burden on the

religious exercise of a person residing in or confined to an institution even if the burden results


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from a rule of general applicability,” unless the government demonstrates that imposition of the

burden is both in furtherance of a compelling governmental interest and is also the least

restrictive means of furthering that interest. 42 U.S. C. § 2000cc-1 (2000).

        41. Both the “No Speaking” and “No Contact” policies that TDCJ has adopted constitute

a substantial burden on Mr. Barbee’s religious exercise and cannot pass muster under RLUIPA.

TDCJ cannot demonstrate that this burden is in furtherance of a compelling government interest,

nor that banning spiritual advisors from speaking aloud and physically touching the person who

is going to be executed is the least restrictive means of furthering any asserted interest.



2. TDCJ’s POLICY PROHIBITING APPROVED SPIRITUAL ADVISORS FROM
VOCAL PRAYER AND HAVING PHYSICAL CONTACT WITH CONDEMNED
PERSONS WHILE PROVIDING SPIRITUAL GUIDANCE AND COMFORT OF
CLERGY IN THE EXECUTION CHAMBER VIOLATES THE FREE EXERCISE
CLAUSE BECAUSE IT INHIBITS THE FREE EXERCISE OF MR. BARBEE’S
CHRISTIAN FAITH.


        42. Mr. Barbee re-alleges and incorporates by reference the allegations contained in the

previous paragraphs of this complaint.

        43. The First Amendment commands that “Congress shall make no law. . . . prohibiting

the free exercise of” religion. U.S.Const. amend. I. The Free Exercise Clause applies to state

government actions. See Cantwell v. Connecticut, 319 U.S. 296, 303 (1940) (holding that the

protections of the Free Exercise Clause are incorporated by the Fourteenth Amendment against

the States).

        44. Application of TDCJ’s policy prohibiting spiritual advisors and chaplains from

vocalizing prayer and having physical contact with the condemned while in the execution

chamber will inhibit the exercise of Mr. Barbee’s Christian faith and will prevent the

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performance of essential religious customs in the critical moments as Mr. Barbee transitions into

the afterlife. When considering laws or policies that inhibit the free exercise of religion,

reviewing courts must first determine whether the law is neutral and generally applicable.

Church of the Lukumi Babulu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 531 (1993). A law or

policy that is not both neutral and of general applicability “must be justified by a compelling

governmental interest and must be narrowly tailored to advance that interest.” Id.

        45. TDCJ’s policy is not neutral because it evinces a hostility toward religion by denying

religious exercise at the precise moment it is needed most: when someone is transitioning from

this life to the next. The policy does this on its face and clearly targets those prisoners who

believe they need a spiritual advisor with them in the execution chamber. The TDCJs policy thus

is permissible only if it can survive strict scrutiny, which it cannot.



                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays that the Court provide relief as follows:

1. A declaratory judgment that TDCJ’s “No Speaking” and “No Contact” policies violate Mr.

Barbee’s rights under the First Amendment’s Free Exercise Clause.

2. A declaratory judgment that TDCJ’s “No Speaking” and “No Contact” policies violate

RLUIPA.

3. A preliminary and permanent injunction prohibiting Defendants from executing Mr. Barbee

until they allow his spiritual advisor not only to be present with him in the chamber, but to pray

audibly with him and have physical contact with him in order to confer a blessing upon him.



                DATED: September 21, 2021.

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       Respectfully submitted,

       s/s A. Richard Ellis

       ____________________________
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                      CERTIFICATE OF ELECTRONIC SERVICE

       I, A. Richard Ellis, do hereby certify that I electronically filed the foregoing pleading

with the Clerk of the Court for the United States District Court for the Southern District of

Texas, using the electronic case filing system of the Court on September 21, 2021. I have also

served Defendant’s counsel of record, Mr. Stephen Hoffman of the Office of the Attorney

General, State of Texas via e-mail at stephen.hoffman@oag.texas.gov.


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